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WAYMON G. sTEWART AND Wf.,}t:t;,; TP:{?;LYM
KATHRYN STEWART, » l l
Plaintiffs,
vs. No. 04-2179-1)1'>

IURY DEMANDED
STRONG BUILT, INC., a lDuiSiana
Corporation, AND BASS PRO OUTDOOR
WORLD, L.L.C, d)'b/a BASS PRO SHOPS
SPORTSMAN WAREHOUSE, a Missouri
Limited Liability Cornpany,

Defendants.

 

ORDER GRANTING PLAINTIFFS AN EXTENSION OF TIME
IN WHICH TO RESPOND TO DEFENDANT BASS PRO OU'I`DOOR
WORLD, LLC’S MOTION FOR PARTIAL SUMMARY JUDGMENT

 

Bass Pro Outdoor World, LLC filed its Motion for Partial Summary Judgment on August
l, 2005. Plaintiffs have moved for additional time in which to respond to and including
September 15, 2005. For good cause shown, it appears to the Court that Plaintit`fs’ Motion for an
Extension of Time should be granted lt is ordered that Plaintiffs shall have through and

including Septernber 15, 2005, in Whioh to tile their response to Bass Pro Outdoor World, LLC’S

Motion for Partial Summary Judgment.

     
   

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he docket She Um d States Dlstnct Judge/

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Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:04-CV-02179 Was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

